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                      Exhibit 29
             TTV Arizona Invoice 2022-0928
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  JAMES BOPP, JR.              THE BOPP LAW FIRM, PC
  jboppjr@aol.com                       ATTORNEYS AT LAW

                                       THE NATIONAL BUILDING
                                             1 South Sixth Street
                                   TERRE HAUTE, INDIANA 47807-3510
                               Telephone 812/232-2434 Facsimile 812/235-3685
                                              www.bopplaw.com




                                              INVOICE
                                          September 28, 2022



True the Vote, Inc.
PO Box 3109 #19128
Houston, TX 77253-3109
Attn: Catherine Engelbrecht--President


In Reference To:Preservation letters regarding Arizona primary election
                TTY.AZ
                Professional Services

                                                                                Hrs/Rate      Amount

     8/3/2022 MS         Review preservation letter needs for Maricopa,             0.70       225.40
                         Pinal, Pima counties                                     322.00/hr

                    JB   Review email from Catherine regarding                      0.40       340.00
                         preservation letters; email Melena Siebert               850.00/hr

     8/4/2022 MS         Draft preservation letters for Maricopa, Pinal, Pima       1.20       386.40
                         counties if needed, phone conference with client         322.00/hr
                         regarding same
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True the Vote, Inc.                                                                      Page 2

                                                                           Hrs/Rate      Amount

     8/4/2022 JB      Review draft preservation letters and Melena             0.50        425.00
                      Siebert email                                          850.00/hr

    8/16/2022 MS      Phone conference with client regarding open              1.20        386.40
                      records request to AZ Attorney General follow up       322.00/hr
                      research regarding same


               For professional services rendered                               4.00     $1,763.20
               Additional charges:

                                                                           Qty/Price

     8/4/2022 Cost advanced for WestLaw computer assisted legal                   10         30.00
              research--research duty to preserve in Arizona                   $3.00


                Total costs                                                                 $30.00

                Total amount of this bill                                                $1,793.20


                Balance due                                                              $1,793.20



                                            Attorney Summary
 Name                                                                Hrs/Rate --==--~==
                                                                                 Rate Amount
 James Bopp, Jr.                                                         0.90  850.00 $765.00
 Melena Siebert                                                          3.10  322.00 $998.20
